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Attorneysfor Defendant

St Nz`cholas Really Associates, LLC

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

 

--x
EDWIN ZAYAS, lndividually and on Behalf of Hon. J. Paul Oetken, U.S.D.J.
All Others Similarly Situated,
Case No. l:l7-cv-1392
Plaintiffs,
DEFENDANT ST NICHOLAS
-against- REALTY ASSOCIATES, LLC

ANSWER WITH AFFIRMATIVE
ST NICHOLAS REALTY ASSOCIATES, LLC and DEFENSES, COUNTERCLAIM

 

MARISCO CENTRO RESTAURANT, INC, AND CROSS-CLAIM
Defendants.
X
ANSWER T 0 COMPLAINT

 

Defendant St Nicholas Realty Associates, LLC (“Defendant”), by and through its counsel,
Goldberg Weprin Finkel Goldstein LLP, as and for its Answer With Counterclaim(s) and Cross-
claim(s) to the Complaint of plaintiff Edwin Zayas, individually and on behalf of all others
similarly situated (“Plaintifr”) respectfully alleges and States:

NATURE OF THE CASE

l. Paragraph “l” of PlaintifF s Complaint contains legal conclusions or statements of
law that require no response However, to the extent that Plaintiff has alleged any other material
allegations, Defendant denies the same.

2. Paragraph “2” of Plaintiff’ s Complaint contains legal conclusions or statements of

law that require no response. However, to the extent that Plaintiff has alleged any other material

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allegations, Defendant denies the same

3. Paragraph “3” of Plaintiff’ s Complaint contains legal conclusions or statements of
law that require no response However, to the extent that Plaintiff has alleged any other material
allegations, Defendant denies the same

VENUE AND JURISDICTION

4. Paragraph “4” of Plaintiff’ s Complaint contains legal conclusions or statements of
law that require no response However, to the extent that Plaintiff has alleged any other material
allegations, Defendant denies the same

5. Paragraph “5” of Plaintiff’s Complaint contains legal conclusions or statements of
law that require no response However, to the extent that Plaintiff has alleged any other material
allegations, Defendant denies the same

6. Paragraph “6” of Plaintiff’ s Complaint contains legal conclusions or statements of
law that require no response However, to the extent that Plaintiff has alleged any other material
allegations, Defendant denies the same

7. Paragraph “7” of Plaintiff’ s Complaint contains legal conclusions or statements of
law that require no response However, to the extent that Plaintiff has alleged any other material
allegations, Defendant denies the same

P_A.RT_IE_.S_

8. Defendant is Without knowledge or information sufficient to form a belief as to the
truth of the allegations set forth in paragraph “8” of Plaintiff s Complaint.

9. Based on information and belief, Defendant is a NeW York domestic limited liability
company doing business in NeW York County.

lO. Defendant is Without knowledge or information sufficient to form a belief as to the

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truth of the allegations set forth in paragraph “lO” of Plaintiff’ s Complaint

ll. Defendant is without knowledge or information sufficient to form a belief as to the
truth of the allegations set forth in paragraph “l l” of Plaintiff’ s Complaint

CLASS ACTION

12. Paragraph “12” of Plaintiff’s Complaint contains legal conclusions or statements of
law that require no response and Defendant respectfully refers the Court to the referenced statute
for its terms and import, however, to the extent that Plaintiff has alleged any other material
allegations, Defendant denies same

l3. Paragraph “13” of Plaintiff`s Complaint contains legal conclusions or statements of
law that require no response and Defendant respectfully refers the Court to the referenced statute
for its terms and import, however, to the extent that Plaintiff has alleged any other material
allegations, Defendant denies same

14. Defendant is without knowledge or information sufficient to form a belief as to the
truth of the allegations set forth in paragraph c‘l4” of Plaintiff’s Complaint.

STATUTORY SCHEME

15. Paragraph “15” of Plaintiff’ s Complaint contains legal conclusions or statements of
law that require no response and Defendant respectfully refers the Court to the referenced statute
for its terms and import, however, to the extent that Plaintiff has alleged any other material
allegations, Defendant denies same

l6. Paragraph “16” of Plaintiff`s Complaint contains legal conclusions or statements of
law that require no response and Defendant respectfully refers the Court to the referenced statute
for its terms and import, however, to the extent that Plaintiff has alleged any other material

allegations, Defendant denies same

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17. Paragraph “17” of Plaintiff’s Complaint contains legal conclusions or statements of
law that require no response and Defendant respectfully refers the Court to the referenced statute
for its terms and import, however, to the extent that Plaintiff has alleged any other material
allegations, Defendant denies same

18. Paragraph “18” of Plaintiff’s Complaint contains legal conclusions or statements of
law that require no response and Defendant respectfully refers the Court to the referenced statute
for its terms and import, however, to the extent that Plaintiff has alleged any other material
allegations, Defendant denies same

l9. Paragraph “19” of Plaintiff" s Complaint contains legal conclusions or statements of
law that require no response and Defendant respectfully refers the Court to the referenced statute
for its terms and import, however, to the extent that Plaintiff has alleged any other material
allegations, Defendant denies same

20. Paragraph “20” of Plaintiff`s Complaint contains legal conclusions or statements of
law that require no response and Defendant respectfully refers the Court to the referenced statute
for its terms and import, however, to the extent that Plaintiff has alleged any other material
allegations, Defendant denies same

Zl. Paragraph “21” of Plaintiff` s Complaint contains legal conclusions or statements of
law that require no response and Defendant respectfully refers the Court to the referenced statute
for its terms and import, however, to the extent that Plaintiff has alleged any other material
allegations, Defendant denies same

22. Paragraph “22” of Plaintiff’ s Complaint contains legal conclusions or statements of
law that require no response and Defendant respectfully refers the Court to the referenced statute

for its terms and import, however, to the extent that Plaintiff has alleged any other material

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allegations, Defendant denies same

23. Paragraph “23” of Plaintiffs Complaint contains legal conclusions or statements of
law that require no response and Defendant respectfully refers the Court to the referenced statute
for its terms and import, however, to the extent that Plaintiff has alleged any other material
allegations, Defendant denies same

24. Paragraph “24” of Plaintiff s Complaint contains legal conclusions or statements of
law that require no response and Defendant respectfully refers the Court to the referenced statute
for its terms and import, however, to the extent that Plaintiff has alleged any other material
allegations, Defendant denies same

25. Paragraph “25” of Plaintiff’ s Complaint contains legal conclusions or statements of
law that require no response and Defendant respectfully refers the Court to the referenced statute
for its terms and import, however, to the extent that Plaintiff has alleged any other material
allegations, Defendant denies same

FACTUAL BACKGROUND

26. Defendant is without knowledge or information sufficient to form a belief as to the
truth of the allegations set forth in paragraph “26” of Plaintiff” s Complaint.

27. Defendant is without knowledge or information sufficient to form a belief as to the
truth of the allegations set forth in paragraph “27” of Plaintiffs Complaint.

28. Defendant is without knowledge or information sufficient to form a belief as to the
truth of the allegations set forth in paragraph “28” of Plaintiff’ s Complaint

29. Defendant denies paragraph “29” of Plaintiff s Complaint

3(). Defendant denies paragraph “3()” of Plaintiff` s Complaint

3 l. Defendant denies paragraph “3 l” of Plaintiff’ s Complaint.

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32. Defendant denies paragraph “32” of Plaintiff` s Complaint.

33. Defendant denies paragraph “33” of Plaintiff’ s Complaint.

34. Defendant is without knowledge or information sufficient to form a belief as to the
truth of the allegations set forth in paragraph “34” of Plaintiff’ s Complaint.

35. Defendant denies paragraph “35” of Plaintiff` s Complaint.

36. Defendant is without knowledge or information sufficient to form a belief as to the
truth of the allegations set forth in paragraph “36” of Plaintiff’ s Complaint.

37. Defendant is without knowledge or information sufficient to form a belief as to the
truth of the allegations set forth in paragraph “37” of Plaintiff’ s Complaint.

38. Defendant is without knowledge or information sufficient to form a belief as to the
truth of the allegations set forth in paragraph “38” of Plaintiff’ s Complaint.

FIRST CAUSE OF ACTION
(VIOLATIONS OF THE AMERICANS WITH DISABILITIES ACT)
(Injunctive Relief)

39. Paragraph “39” of Plaintiff’s Complaint contains legal conclusions or statements of
law that require no response and Defendant respectfully refers the Court to the referenced statute
for its terms and import, however, to the extent that Plaintiff has alleged any other material
allegations, Defendant is without knowledge or information sufficient to form a belief as to the
truth of the allegations set forth in paragraph “39” of Plaintiff" s Complaint.

40. Defendant denies paragraph “40” of Plaintiff’s Complaint.

41. Paragraph “41” of Plaintiff s Complaint contains legal conclusions or statements of
law that require no response and Defendant respectfully refers the Court to the referenced statute
for its terms and import, however, to the extent that Plaintiff has alleged any other material

allegations, Defendant denies same

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42. Defendant denies paragraph “42” of Plaintiff’ s Complaint.

43. Defendant denies paragraph “43” of Plaintiff s Complaint.

44. Defendant is without knowledge or information sufficient to form a belief as to the
truth of the allegations set forth in paragraph “44” of Plaintiff`s Complaint.

45. Defendant is without knowledge or information sufficient to form a belief as to the
truth of the allegations set forth in paragraph “455” of Plaintiff s Complaint.

46. Paragraph “46” of Plaintiff’s Complaint contains legal conclusions or statements of
law that require no response and Defendant respectfully refers the Court to the referenced statute
for its terms and import, however, to the extent that Plaintiff has alleged any other material
allegations, Defendant denies same

47. Defendant is without knowledge or information sufficient to form a belief as to the
truth of the allegations set forth in paragraph “47” of Plaintiff s Complaint.

48. Paragraph “48” of Plaintiff`s Complaint contains legal conclusions or statements of
law that require no response and Defendant respectfully refers the Court to the referenced statute
for its terms and import, however, to the extent that Plaintiff has alleged any other material
allegations, Defendant denies same

49. Defendant denies paragraph “49” of Plaintiff’s Complaint.

50. Defendant denies the allegations set forth in paragraph “50” of Plaintiff’s Complaint

and respectfully refers the Court to the referenced statute for its terms and import.

(a) Defendant denies the allegations set forth in paragraph “50(a)” of Plaintiff’ s
Complaint.
(b) Defendant denies the allegations set forth in paragraph “50(b)” of

Plaintiff’ s Complaint.

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(c) Defendant denies the allegations set forth in paragraph “50(0)” of
Plaintist Complaint.
(d) Defendant denies the allegations set forth in paragraph “50(d)” of
Plaintiff"s Complaint.
(e) Defendant denies the allegations set forth in paragraph “50(e)” of
Plaintiff’ s Complaint.
(f) Defendant denies the allegations set forth in paragraph “50(f)” of
Plaintiff’s Complaint.
(g) Defendant denies the allegations set forth in paragraph “50(g)” of
Plaintiff s Complaint.
(h) Defendant denies the allegations set forth in paragraph “SO(h)” of
Plaintiff s Complaint.
(i) Defendant denies the allegations set forth in paragraph “SO(i)” of
Plaintiff’s Complaint.
(j) Defendant denies the allegations set forth in paragraph “50@)” of
Plaintiff’ s Complaint.

51. Paragraph “51” of Plaintiff`s Complaint contains legal conclusions or statements of
law that require no response and Defendant respectfully refers the Court to the referenced statute
for its terms and import, however, to the extent that Plaintiff has alleged any other material
allegations, Defendant denies same

52. Paragraph “52” of Plaintiff s Complaint contains legal conclusions or statements of
law that require no response and Defendant respectfully refers the Court to the referenced statute

for its terms and import, however, to the extent that Plaintiff has alleged any other material

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allegations, Defendant denies same

53. Paragraph “`53” of Plaintiff’s Complaint contains legal conclusions or statements of
law that require no response and Defendant respectfully refers the Court to the referenced statute
for its terms and import, however, to the extent that Plaintiff has alleged any other material
allegations, Defendant denies same

54. Paragraph “54” of Plaintiff’ s Complaint contains legal conclusions or statements of
law that require no response and Defendant respectfully refers the Court to the referenced statute
for its terms and import, however, to the extent that Plaintiff has alleged any other material
allegations, Defendant denies same

55. Paragraph “55” of Plaintiff’s Complaint contains legal conclusions or statements of
law that require no response and Defendant respectfully refers the Court to the referenced statute
for its terms and import, however, to the extent that Plaintiff has alleged any other material
allegations, Defendant denies same

56. Paragraph “56” of Plaintiff’s Complaint contains legal conclusions or statements of
law that require no response and Defendant respectfully refers the Court to the referenced statute
for its terms and import, however, to the extent that Plaintiff has alleged any other material
allegations, Defendant denies same

57. Paragraph “57” of Plaintiff s Complaint contains legal conclusions or statements of
law that require no response and Defendant respectfully refers the Court to the referenced statute
for its terms and import, however, to the extent that Plaintiff has alleged any other material
allegations, Defendant denies same

58. Paragraph “58” of Plaintiff’ s Complaint contains legal conclusions or statements of

law that require no response and Defendant respectfully refers the Court to the referenced statute

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for its terms and import, however, to the extent that Plaintiff has alleged any other material
allegations, Defendant denies same

59. Defendant denies the allegations set forth in paragraph “59” of Plaintiff’ s Complaint.

60. Defendant denies the allegations set forth in paragraph “6()” of Plaintiff s Complaint.

6l. Defendant denies the allegations set forth in paragraph “61” of Plaintiff s Complaint.

62. Defendant denies the allegations set forth in paragraph “62” of Plaintiff’ s Complaint.

SECOND CAUSE OF ACTION
(VIOLATIONS OF THE NEW YORK STATE HUMAN RIGHTS LAW)
(Injunctive Relief' and Damages on Behalf of Plaintiff)

63. Defendant repeats and realleges each and every allegation contained above in
paragraphs “l” through “62” with the same force and effect as if hereinafter set forth at length.

64. Paragraph “64” of Plaintiff’s Complaint contains legal conclusions or statements of
law that require no response and Defendant respectfully refers the Court to the referenced statute
for its terms and import, however, to the extent that Plaintiff has alleged any other material
allegations, Defendant denies same

65. Paragraph “65” of Plaintiff"s Complaint contains legal conclusions or statements of
law that require no response and Defendant respectfully refers the Court to the referenced statute
for its terms and import, however, to the extent that Plaintiff has alleged any other material
allegations, Defendant denies same

66. Defendant denies the allegations set forth in paragraph “66” of Plaintiff’s Complaint.

67. Defendant denies the allegations set forth in paragraph “67” of Plaintiff’ s Complaint.

68. Defendant denies the allegations set forth in paragraph “68” of Plaintiff s Complaint.

69. Paragraph “69” of Plaintiff s Complaint contains legal conclusions or statements of

law that require no response and Defendant respectfully refers the Court to the referenced statute

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for its terms and import, however, to the extent that Plaintiff has alleged any other material
allegations, Defendant denies same

70. Paragraph “70” of Plaintiff’s Complaint contains legal conclusions or statements of
law that require no response and Defendant respectfully refers the Court to the referenced statute
for its terms and import, however, to the extent that Plaintiff has alleged any other material
allegations, Defendant denies same

7l. Paragraph “71” of Plaintiff’ s Complaint contains legal conclusions or statements of
law that require no response and Defendant respectfully refers the Court to the referenced statute
for its terms and import, however, to the extent that Plaintiff has alleged any other material
allegations, Defendant denies same

THIRD CAUSE OF ACTION
VIOLATIONS OF THE NEW YORK STATE CIVIL RIGHTS LAW
(Statutory Damages on Behalf of Plaintiff)

72. Defendant repeats and realleges each and every allegation contained above in
paragraphs “l” through “71” with the same force and effect as if hereinafter set forth at length.

73. Defendant denies paragraph “73” of the Plaintiff’ s Complaint.

74. Paragraph “74” of Plaintiff’ s Complaint contains legal conclusions or statements of
law that require no response and Defendant respectfully refers the Court to the referenced statute
for its terms and import, however, to the extent that Plaintiff has alleged any other material
allegations, Defendant denies same

75. Paragraph “75” of Plaintiff’ s Complaint contains legal conclusions or statements of
law that require no response and Defendant respectfully refers the Court to the referenced statute
for its terms and import, however, to the extent that Plaintiff has alleged any other material

allegations, Defendant denies same

ll

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76. Paragraph “76” of Plaintiff’s Complaint contains legal conclusions or statements of
law that require no response and Defendant respectfully refers the Court to the referenced statute
for its terms and import, however, to the extent that Plaintiff has alleged any other material
allegations, Defendant denies same

F()URTH CAUSE OF ACTION
Disability Discrimination in Violations of NYC Human Rights Law 8-107(4)
(Injunctive Relief and Damages on Behalf of Plaintiff)

77. Defendant repeats and realleges each and every allegation contained above in
paragraphs “l” through “76” with the same force and effect as if hereinafter set forth at length.

78. Paragraph “78” of Plaintiff s Complaint contains legal conclusions or statements of
law that require no response and Defendant respectfully refers the Court to the referenced statute
for its terms and import, however, to the extent that Plaintiff has alleged any other material
allegations, Defendant denies same

79. Paragraph “79” of Plaintiff‘s Complaint contains legal conclusions or statements of
law that require no response and Defendant respectfully refers the Court to the referenced statute
for its terms and import, however, to the extent that Plaintiff has alleged any other material
allegations, Defendant denies same

80. Paragraph “80” of Plaintiff’ s Complaint contains legal conclusions or statements of
law that require no response and Defendant respectfully refers the Court to the referenced statute
for its terms and import, however, to the extent that Plaintiff has alleged any other material
allegations, Defendant denies same

Sl. Paragraph “81” of Plaintiff’s Complaint contains legal conclusions or statements of
law that require no response and Defendant respectfully refers the Court to the referenced statute

for its terms and import, however, to the extent that Plaintiff has alleged any other material

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allegations, Defendant denies same

82. Paragraph “82” of Plaintiff`s Complaint contains legal conclusions or statements of
law that require no response and Defendant respectfully refers the Court to the referenced statute
for its terms and import, however, to the extent that Plaintiff has alleged any other material
allegations, Defendant denies same

83. Paragraph “83” of Plaintiff’s Complaint contains legal conclusions or statements of
law that require no response and Defendant respectfully refers the Court to the referenced statute
for its terms and import, however, to the extent that Plaintiff has alleged any other material
allegations, Defendant denies same

84. Paragraph “84” of Plaintiff’s Complaint contains legal conclusions or statements of
law that require no response and Defendant respectfully refers the Court to the referenced statute
for its terms and import, however, to the extent that Plaintiff has alleged any other material
allegations, Defendant denies same

FIFTH CAUSE OF ACTION
Failure to Reasonably Accommodate in Violation of NYC Human Rights Law 8-107(15)
(Injunctive Relief and Damages on Behalf of Plaintiff)

85. Defendant repeats and realleges each and every allegation contained above in
paragraphs “l” through “84” with the same force and effect as if hereinafter set forth at length.

86. Paragraph “86” of Plaintiff"s Complaint contains legal conclusions or statements of
law that require no response and Defendant respectfully refers the Court to the referenced statute
for its terms and import, however, to the extent that Plaintiff has alleged any other material
allegations, Defendant denies same

87. Paragraph “87” of Plaintiff s Complaint contains legal conclusions or statements of

law that require no response and Defendant respectfully refers the Court to the referenced statute

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for its terms and import, however, to the extent that Plaintiff has alleged any other material
allegations, Defendant denies same

88. Paragraph “88” of Plaintiff’s Complaint contains legal conclusions or statements of
law that require no response and Defendant respectfully refers the Court to the referenced statute
for its terms and import, however, to the extent that Plaintiff has alleged any other material
allegations, Defendant denies same

89. Paragraph “89” of Plaintiff’s Complaint contains legal conclusions or statements of
law that require no response and Defendant respectfully refers the Court to the referenced statute
for its terms and import, however, to the extent that Plaintiff has alleged any other material
allegations, Defendant denies same

90. Defendant is without knowledge or information sufficient to form a belief as to the
truth of the allegations set forth in paragraph “90” of Plaintiffs Complaint.

9l. Paragraph “91” of Plaintiff` s Complaint contains legal conclusions or statements of
law that require no response and Defendant respectfully refers the Court to the referenced statute
for its terms and import, however, to the extent that Plaintiff has alleged any other material
allegations, Defendant denies same

92. Paragraph “92” of Plaintiff’s Complaint contains legal conclusions or statements of
law that require no response and Defendant respectfully refers the Court to the referenced statute
for its terms and import, however, to the extent that Plaintiff has alleged any other material
allegations, Defendant denies same

93. Paragraph “93” of Plaintiff’ s Complaint contains legal conclusions or statements of
law that require no response and Defendant respectfully refers the Court to the referenced statute

for its terms and import, however, to the extent that Plaintiff has alleged any other material

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allegations, Defendant denies same

94.

SIXTH CAUSE OF ACTION
(Declaratory Relief)

Defendant repeats and realleges each and every allegation contained above in

paragraphs “1” through “93” with the same force and effect as if hereinafter set forth at length.

95.

(A)

(B)

(C)

(D)

(E)

Defendant denies paragraph “94” of the Plaintiff’ s Complaint.
PRAYER FOR RELIEF

Paragraph “A” of Plaintiff’s Complaint contains legal conclusions or statements of
law that require no response and Defendant respectfully refers the Court to the
referenced statute for its terms and import, however, to the extent that Plaintiff has
alleged any other material allegations, Defendant denies same

Paragraph “B” of Plaintiff s Complaint contains legal conclusions or statements of
law that require no response and Defendant respectfully refers the Court to the
referenced statute for its terms and import, however, to the extent that Plaintiff has
alleged any other material allegations, Defendant denies same

Paragraph “C” of Plaintiff’s Complaint contains legal conclusions or statements of
law that require no response and Defendant respectfully refers the Court to the
referenced statute for its terms and import, however, to the extent that Plaintiff has
alleged any other material allegations, Defendant denies same

Paragraph “D” of Plaintiff’s Complaint contains legal conclusions or statements of
law that require no response and Defendant respectfully refers the Court to the
referenced statute for its terms and import, however, to the extent that Plaintiff has
alleged any other material allegations, Defendant denies same

Paragraph “E” of Plaintiff`s Complaint contains legal conclusions or statements of

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law that require no response and Defendant respectfully refers the Court to the
referenced statute for its terms and import, however, to the extent that Plaintiff has
alleged any other material allegations, Defendant denies same

(F) Paragraph “F” of Plaintiff’ s Complaint contains legal conclusions or statements of
law that require no response and Defendant respectfully refers the Court to the
referenced statute for its terms and import, however, to the extent that Plaintiff has
alleged any other material allegations, Defendant denies same

(G) Paragraph “G” of Plaintiff`s Complaint contains legal conclusions or statements of
law that require no response and Defendant respectfully refers the Court to the
referenced statute for its terms and import, however, to the extent that Plaintiff has
alleged any other material allegations, Defendant denies same

(H) Paragraph “H” of Plaintiff`s Complaint contains legal conclusions or statements of
law that require no response and Defendant respectfully refers the Court to the
referenced statute for its terms and import, however, to the extent that Plaintiff has
alleged any other material allegations, Defendant denies same

(l) Paragraph “I” of Plaintiff’s Complaint contains legal conclusions or statements of
law that require no response and Defendant respectfully refers the Court to the
referenced statute for its terms and import, however, to the extent that Plaintiff has
alleged any other material allegations, Defendant denies same

(J) Paragraph “J” of Plaintiff’s Complaint contains legal conclusions or statements of
law that require no response and Defendant respectfully refers the Court to the
referenced statute for its terms and import, however, to the extent that Plaintiff has

alleged any other material allegations, Defendant denies same

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(K) Paragraph “K” of Plaintiff’s Complaint contains legal conclusions or statements of
law that require no response and Defendant respectfully refers the Court to the
referenced statute for its terms and import, however, to the extent that Plaintiff has
alleged any other material allegations, Defendant denies same

(L) Paragraph “L” of Plaintiff`s Complaint contains legal conclusions or statements of
law that require no response and Defendant respectfully refers the Court to the
referenced statute for its terms and import, however, to the extent that Plaintiff has

alleged any other material allegations, Defendant denies same

FIRST AFFIRMATIVE DEFENSE
96. Plaintiff s claims are barred, in whole or in part, because they fail to state a cause
of action upon which relief may be granted.
SECOND AFFIRMATIVE DEFENSE
97. Plaintiffs claims are barred, in whole or in part, by the applicable statutes of
limitations
THIRD AFFIRMATIVE DEFENSE
98. Plaintiff lacks standing to bring this action and has failed to properly allege
standing
FOURTH AFFIRMATIVE DEFENSE
99. The Complaint is barred, in whole or in part, by Plaintiffs failure to satisfy the
statutory and/or administrative prerequisites to bringing an action.
FIFTH AFFIRMATIVE DEFENSE

100. Though the Defendant denies that the violations exist, the Plaintiff failed to

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provide Defendant with an opportunity to cure the alleged violations without imposing an undue
burden on the Defendant.
SIXTH AFFIRMATIVE DEFENSE

101. Any nonconforming use of the property is exempt and not covered by the ADA as

an existing condition that pre-dates the enactment of the ADA.
SEVENTH AFFIRMATIVE DEFENSE

102. Plaintiff has demanded modifications to the property that are not readily
achievable, technically infeasible, not required, or that would create an undue burden on
Defendant

EIGHTH AFFIRMATIVE DEFENSE

103. Upon information or belief, prior to the commencement of this action, Plaintiff

had never been inside the property nor attempted to enter it.
NINTH AFFIRMATIVE DEFENSE

104. Upon information and belief, Plaintiff has not been denied full and safe access to

all of the benefits, accommodations, and services of the property.
TENTH AFFIRMATIVE DEFENSE
105. Plaintiff is not entitled to recover attorneys’ fees.
ELEVENTH AFFIRMATIVE DEFENSE

106. Plaintiff and/or his counsel failed to conduct a reasonable investigation and filed a
Complaint that is frivolous and lacks a factual or legal basis. Defendant is therefore entitled to
recover attorneys’ fees and costs pursuant to 28 U.S.C. § 1927 and 42 U.S.C. § 12205.

TWELFTH AFFIRMATIVE DEFENSE

107. Some or all of the modifications and relief sought by Plaintiff in the Complaint

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are not required by the ADA, NYCHRL, and/or NYSHRL in order to be in compliance with
those laws.
THIRTEENTH AFFIRMATIVE DEFENSE

108. Defendant has provided accessibility to the extent required by law. Greater

accessibility is not feasible, not required or is excused as provided for by applicable law.
FCURTEENTH AFFIRMATIVE DEFENSE

109. Plaintiff` s claims, and the claims of each putative member of the purported class
defined in the Complaint as other persons similarly situated, are barred because to the extent
architectural barriers alleged by Plaintiff exist (which supposition is explicitly denied and merely
stated for the purpose of this additional defense) the modification of such barriers is not readily
achievable

FIFTEENTH AFFIRMATIVE DEFENSE

110. To the extent Defendant is determined to be liable, it is entitled to indemnity
and/or contribution from Defendant l\/IARISCO CENTRO RESTAURANT, INC, based on its
actions, inactions, negligence recklessness, contractual obligations, and/or other conduct,
including but not limited to actions alleged in Plaintiff’ s Complaint.

SIXTEENTH AFFIRMATIVE DEFENSE

111. Plaintiff’s claims, and the claims of each putative member of the purported class
defined in the Complaint as other persons similarly situated, are barred because, to the extent
architectural barriers alleged by Plaintiff exist (which supposition is explicitly denied and merely
stated for the purpose of this additional defense) the barriers are de minimis and/or are within

conventional building industry tolerances.

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SEVENTEENTH AFFlRMATIVE DEFENSE

112. Any auxiliary aids and services alleged to be required would constitute an undue
burden as defined in the Treasury Regulations as “significant difficulty or expense” and is not
required.

EIGHTEENTH AFFIRMATIVE DEFENSE

113. The applicable statutory ceilings on recoverable damages must limit any damages

recovered by Plaintiff from Defendant
NINETEENTH AFFIRMATIVE DEFENSE

114. Plaintiff`s claims, and the claims of each putative member of the purported class
defined in the Complaint as other persons similarly situated, are barred because Defendant has
complied with all applicable regulations of the federal, state and city governments

TWENTIETH AFFIRMATIVE DEFENSE

115. Plaintiff fails to allege facts or a cause of action against Defendant sufficient to
support a claim of attorneys’ fees.

116. Plaintiff is not entitled to damages or attorneys’ fees because Plaintiff acted in bad
faith by failing to give Defendant notice of alleged violations prior to filing lawsuit, when
alleged violations may have been handled in a cost-efficient manner, in a transparent attempt to
extract a settlement

TWENTY-FIRST AFFIRMATIVE DEFENSE

117. Plaintiff’ s claims, and the claims of each putative member of the purported class
defined in the Complaint as other persons similarly situated, are barred in whole or part pursuant
to 28 C.F.R. 36.403(f) in that any alleged alteration required to conform is disproportionate to

the overall alternation, if any.

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TWENTY-SECOND AFFIRMATIVE DEFENSE

118. The Complaint was not initiated in good faith and is barred by the doctrine of
unclean hands.

TWENTY-THIRD AFFIRMATIVE DEFENSE

119. Plaintiff is not entitled to injunctive relief because s/he has failed to show an
injury-in-fact or a threat of real and immediate harm.

TWENTY-FOURTH AFFIRMATIVE DEFENSE

120. The Complaint must be dismissed because Plaintiff has not shown, and does not
have, a good faith intent to return to the subject property and patronize its facilities.

121. Upon information and belief, the Plaintiff lacks standing as s/he is a serial ADA
litigant who has and continues to pursue a course of litigation instituted without sufficient
grounds and serving only to cause annoyance and expense to this and other similarly situated
defendants for the purpose of recovering attorneys’ fees under the ADA.

122. As of the present day, the Plaintiff has instituted in the SDNY the following
cases:

(i) Zayas v. Western Beef Retail, Inc. (1:15-cv-7611-ER);

(ii) Zayas v. 136 Ninth Avenue Corp. et al (1:16-cv-41'75-PGG)

(iii) Zayas v. 144 Ninth Gotham Pizza, Inc. et al (1:16-cv-4176-GBD)

(iv) Zayas v. 364 West 19th Street, LLC et al (1:16-cv-4177-GHW)

(v) Zayas v. Rosington Corp. et al (1:16-cv-6763-LTS)

(vi) Zayas v. DT Hospitality Group Inc. et al (1:16-cv-6781-GBD)

(vii) Zayas v. Georgey Inc. et al (1:16-cv-6811-ER)

(Viii) Zayas v. BEC Foods, LLC (l:l6-cV-8028-GHW)

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(ix) Zayas v. 301 W 17 LLC et al (1:16-cv-9306-KBF)

(x) Zayas v. 246-18 Realty, LLC et al (1:16-cv-9307-LAP)

(xi) Zayas v. 110 Ninth Avenue Corp. et al (1:16-cv-9308-PAE)

(xii) Zayas v. Hua Da Inc et al (1:16-cv-9493-WHP)

(xiii) Zayas v. 132 Ninth Avenue LLC et al (1:16-cv-9496-KPF)

(xiv) Zayas v. Vesdel Food’s Inc. et al (1:16-cv-9939-PKC)

TWENTY-FIFTH AFFIRMATIVE DEFENSE

123. Upon information and belief, Plaintist counsel has brought dozens of similar
actions seeking the same relief as in this case and, as such, the case was not brought in good
faith.

TWENTY-SIXTH AFFIRMATIVE DEFENSE

124. Plaintiff’ s claims, and the claims of each putative member of the purported class
defined in the Complaint as other persons similarly situated, are barred as Plaintiff is not an
adequate representative of the proposed class, and there are no others similarly situated as
Plaintiff.

RESERVATION OF ADDITIONAL DEFENSES

125. Defendant reserves the right to allege additional defenses as they become known

during discovery and to amend its answer accordingly
COUNTERCLAIM

126. Defendant has retained the law offices of Goldberg Weprin Finkel Goldstein LLP,
and has agreed to pay it a reasonable fee for its services. Pursuant to 28 U.S.C. § 1927; 42
U.S.C. § 12205 and 42 U.S. Code § 2000a-3(b) (based upon Plaintiff’s demand for injunctive

relief), Defendant is entitled to recover attorneys’ fees and costs incurred in this action in the

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event it is deemed a prevailing party in this action, or otherwise demonstrate entitlement to fees
under said statutes

CROSS-CLAIM AGAINST CO-DEFENDANT
MARISCO CENTRO RESTAURANT. INC.

127. Marisco Centro Restaurant, lnc. (“Marisco”), as tenant, entered into a lease (the
“Lease”) with Defendant, as landlord, to operate a restaurant at the premises which is the subject
of this action.

128. The Defendant is in compliance with all obligations under the Lease, which
remains in full force and effect as of the date hereof.

129. Pursuant to the Lease, Marisco was and is responsible for ensuring that the
premises complied with certain specified legal requirements including, among other things,
those required under the American with Disabilities Act, if applicable

130. Pursuant to the Lease, l\/Iarisco agreed to indemnify and hold Defendant harmless
from and against claims arising out of certain acts and omissions, such as those categories that
are the subject of this action.

131. Pursuant to the Lease, l\/Iarisco was and is obligated to provide a defense to
Defendant against this action.

132. Upon a breach of l\/Iarisco to indemnify, defend and/or hold Defendant harmless
Marisco is additionally liable under the Lease to pay Defendant’s reasonable attorneys’ fees and
disbursements incurred.

133. To date, Marisco has declined and refused to indemnify Defendant and to provide
a defense to the within action and is in breach of said obligations

134. By reason of the foregoing, if it is found that the answering Defendant is liable, in

whole or in part, to the Plaintiff herein, which liability is expressly denied, then the Defendant is

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entitled to indemnification from and against Marisco, for any judgment or other relief that the
Plaintiff may recover against the Defendant, in addition to Defendant’s reasonable attorneys’
fees and disbursements in defense of this action.
WHEREFORE, Defendant St Nicholas Realty Associates, LLC respectfully requests
that the Court enter judgment in its favors
A. Dismissing the Complaint in its entirety, and granting the costs and disbursements of
this action, or, in the alternative, granting the Defendant judgment over and against,
and indemnity, from l\/Iarisco, for loss or damage incurred by Defendant if any, in
connection with the within action, and
B. That the Court issue an award of counsel fees, costs, and disbursements against the
Plaintiff, and
C. That the Court issue an award of counsel fees, costs, and disbursements against
Marisco by reason of Marisco’s breach of its duty to defend and indemnify
Defendant, and
D. That the Court award the Defendant such other relief as the Court may deem
appropriate and just.

Dated: New York, New York
April 7, 20 l 7

GOLDBERG WEPRIN FINKEL
GOLDSTEIN LLP

By: s/Eli Raider

Eli Raider, Esq. (2995)
Attomeysfor Defendant
St Nicholas Realty Associates, LLC
1501 Broadway - 22nd Floor
New York, New York 10036
(212) 221-5700

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CERTIFICATE OF SERVICE
l hereby certify that on this date the within Answer with Affirmative Defenses,
Counterclaim(s) and Cross-claim(s) were served through the Court’s CM/ECF system on the
following counsel of record:
LAW OFFICES OF JAMES E. BAHAMONDE, P.C.
Attn: James Bahamonde

2501 Jody Court
North Bellmore, NY 1 1710

And upon the following:
Marisco Centro Restaurant, Inc.

1490 Saint Nicholas Avenue
New York, New York 10033

Dated: New York, New York By: s/Eli Raider
April 6, 2017

